






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-04-00792-CV







Eva Macready, Appellant


v.


Thomas Macready, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT

NO. 202,671-A, HONORABLE SUE LYKES, JUDGE PRESIDING





M E M O R A N D U M  O P I N I O N


		Appellant Eva Macready appeals from a final decree of divorce,  primarily asserting 

that the district court's decision to award custody of her child to appellee Thomas Macready was not
in the child's best interest.  The final divorce decree was signed on September 23, 2004.   On
February 23, 2005, we advised Macready that the reporter's record was overdue.  On March 27,
2007, this Court notified Macready that we could not consider the merits of her appeal without a
reporter's record of the proceedings in the district court.  We further informed Macready that unless
we received the reporter's record within 60 days from the receipt of our March 27 letter, we would
dismiss her appeal.  The deadline has passed and we have not received the reporter's record. 
Accordingly, we dismiss the appeal for want of prosecution.  See Tex. R. App. P. 42.3.


							____________________________________

							Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Henson

Dismissed for Want of Prosecution

Filed:   June 11, 2007



